        Case: 2:07-cr-00008-WAP-DAS Doc #: 91 Filed: 06/19/08 1 of 2 PageID #: 178



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  DELTA DIVISION

UNITED STATES OF AMERICA,

VS.                                                   CRIMINAL ACTION NO. 2:07CR008-P-B

MOHAMMED AQRAA, HAJAR OBAD,
SHAFIQ NAJJAR, ALI MUBARZ
and ALI OBAD                                                                         DEFENDANTS.

                                 ORDER CONTINUING TRIAL

          This matter comes before the court upon Defendant Mohammed Aqraa’s Motion for

Continuance [89]. After due consideration of the motion, the court finds as follows, to-wit:

          Trial is currently set for July 14, 2008. Defense counsel requests a continuance to afford

more time to adequately prepare for his client’s defense given the unusually complex nature of the

case.

          The Government has no objection to the continuance.

          The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from July 14, 2008 until the new trial date to be set in this matter.

The time is excludable under subsection (h)(8)(A) because, given the circumstances described

above, a continuance is necessary to afford the defendant’s counsel more time to adequately prepare

for his client’s defense. As such, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial.

          IT IS THEREFORE ORDERED AND ADJUDGED that:

          (1) Defendant’s Motion for Continuance [89] is GRANTED;

          (2) Trial of this matter is continued as to all remaining defendants until Monday,

September 8, 2008 at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;
     Case: 2:07-cr-00008-WAP-DAS Doc #: 91 Filed: 06/19/08 2 of 2 PageID #: 179



       (3) The delay from July 14, 2008 to September 8, 2008 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is August 18, 2008; and

       (5) The deadline for submitting a plea agreement is August 25, 2008.

       SO ORDERED this the 19th day of June, A.D., 2008.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE
